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                                          T HE CITY OF NEW YORK
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                                                                                                         Senior Counsel

                                                                                          March 12, 2025
       BY ECF
       Honorable Joseph A. Marutollo
       United States Magistrate Judge
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, NY 11201

                       Re:    Ricco D. Slade v. City of New York, et al.,
                              24-CV-6711 (NCM) (JAM)
       Your Honor:

                       I am a Senior Counsel in the office of Muriel Goode-Trufant, Corporation Counsel
       of the City of New York, and write on behalf of the City as an interested party in the above-
       referenced matter. 1 The City writes to respectfully request a thirty-day extension of time, from
       March 14, 2025 to April 14, 2025, to complete its response to the Court's Valentin Order dated
       December 10, 2024 (ECF No. 11). This is the third request for an extension of the Valentin
       deadline. The undersigned attempted to obtain Plaintiff's position on this request, but was informed
       that the next available legal call with Plaintiff at Auburn Correctional Facility would not be until
       March 26, 2025.

                        By way of background, Plaintiff brings claims under 42 U.S.C. § 1983 arising from,
       inter alia, his December 28, 2022 arrest by detectives from the 110th Precinct in Queens. By Order
       dated December 10, 2024, this Court dismissed several claims but directed the Corporation
       Counsel to identify two John Doe Detectives pursuant to Valentin v. Dinkins, 121 F.3d 72 (2d Cir.
       1997). (ECF No. 11). The Court granted the City's first request for an extension until February 14,
       2025 (ECF No. 13), and its second request for an extension until March 14, 2025 (ECF Order dated
       February 13, 2025).




       1 This case has been assigned to Assistant Corporation Counsel Jack McLaughlin, who is

       presently awaiting admission to the Eastern District of New York and is handling this matter
       under my supervision. Mr. McLaughlin may be reached directly at (212) 356-2670 or by email at
       jmclaugh@law.nyc.gov.
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                 In the City's second extension request, this office identified Detective Steven
  Gassick as the primary detective who handled Plaintiff's arrest, and reported that despite diligent
  investigation, this office had been unable to identify the second John Doe detective, whose
  involvement with Plaintiff’s arrest appears to have been minimal. This office also informed the
  Court that we had scheduled a call with Plaintiff for February 19, 2025 to obtain additional
  information, such as identifying physical characteristics, that might assist in identifying the second
  detective.

                 Unfortunately, on the date of the scheduled call, this office was unable to reach
  Plaintiff and was repeatedly routed to the facility operator. The operator informed us that Auburn
  Correctional Facility was on lockdown due to the ongoing correctional officer strike, which was
  affecting the ability to arrange legal calls. After multiple requests over the following week,
  Assistant Corporation Counsel Jack McLaughlin was finally able to secure a legal call with
  Plaintiff on March 4, 2025.

                  During this call, Plaintiff was cordial and cooperative, but unfortunately had little
  recollection of the John Doe detectives beyond identifying them as Caucasian males. This limited
  description has provided minimal assistance in narrowing down the pool to over a dozen detectives
  who could potentially be the second John Doe. This office has had insufficient time since that
  March 4th call to conduct further investigation to identify the specific detective from this sizeable
  group.

                  In our continued effort to fulfill our Valentin obligations, on March 7, 2025, this
  office attempted to schedule another call with Mr. Slade for this week to discuss our extension
  request and in an effort to obtain additional identifying information. We were informed that the
  next available legal call is not until March 26, 2025, which we scheduled.

                Accordingly, the City respectfully requests a thirty-day extension, until April 14,
  2025, to complete its investigation and attempt to identify the second John Doe detective.

                 The undersigned thanks the Court for its time and consideration of this request.

                                                            Respectfully Submitted,

                                                                Joseph Zangrilli /s/

                                                                Joseph Zangrilli
                                                                Attorney for Interested Party City of
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  Cc:   VIA FIRST CLASS MAIL
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        Auburn, NY 13021
        Plaintiff Pro Se




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